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                                         UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                        OFFICE OF THE CLERK
                                                  U.S. COURTHOUSE, LOBBY LEVEL
                                                        700 STEWART STREET
                                                   SEATTLE, WASHINGTON 98101
                                                            (206) 370-8400

   RAVI SUBRAMANIAN                                                                                   ERIC SMITS
  District Court Executive                                                                         Chief Deputy Clerk
       Clerk of Court


                                   INSTRUCTIONS FOR COMPLETION OF
                             APPLICATION FOR LEAVE TO APPEAR PRO HAC VICE

Pursuant to LCR 83.1(d) – Permission to Participate in a Particular Case

 Pro Hac Vice Attorney Requirements                              Local Counsel Requirements

      Pro Hac Vice Attorney Applicant must:                         Local Counsel must:

      1. Obtain local counsel (see Local Counsel                    1. Be admitted to practice before this Court.
         Requirements).
                                                                    2. Have a physical office within the
      2. Fill out all sections of the Application for                  geographical boundaries of the Western
         Leave to Appear Pro Hac Vice (attached)                       District of Washington.
         except for the Statement of Local Counsel.
                                                                    3. Formally appear (LCR 83.2(a)) in the case
      3. Send the Application to local counsel to                      in which the attorney files the Application.
         complete.
                                                                    4. Complete and sign the Statement of Local
      4. Submit a Pro Hac Vice access request                          Counsel section of the Application for
         from attorney pacer.uscourts.gov account                      Leave to Appear Pro Hac Vice signifying
         (see Pro Hac Vice Application Guide for                       the attorney has read and understands
         information on when this needs to be                          their responsibilities as local counsel.
         done).
                                                                    5. Electronically file and pay the fee for the
                                                                       completed application (either Civil or
                                                                       Criminal), under Other Documents, then
                                                                       select Application for Leave to Appear
                                                                       Pro Hac Vice.




The court will review applications and upon approval docket an Order in the case.
 Questions regarding Pro Hac Vice applications:                  Questions regarding Electronic Case Filing (ECF):
          Attorney Admissions Clerk 206-370-8433                        ECF Help Desk 1-866-323-9293
          WAWD_Admissions@wawd.uscourts.gov                             cmecf@wawd.uscourts.gov


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                                         United States District Court
                                        Western District of Washington



   PLINTRON TECHNOLOGIES USA LLC,

                                                            Case Number: 2:24-CV-00093

  Plaintiff(s)                                              APPLICATION FOR LEAVE TO APPEAR
                                                            PRO HAC VICE
  V.
  JOSEPH PHILLIPS, RICHARD PELLY, THOMAS
  MATHEW, GREG MCKERVEY, and DESIREE
  MICHELLE GRAY,


  Defendant(s)

 Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
  Michael J. Songer
                                                 hereby applies for permission to appear and participate as
 counsel in the above entitled action on behalf of the following party or parties:
  Plintron Technologies USA LLC




 The particular need for my appearance and participation is:
  I am retained as co-counsel on behalf of Plintron Technologies USA LLC, Case No. 24-cv-00093-MLP.




   Michael J. Songer
 I,                                              understand that I am charged with knowing and complying with
 all applicable local rules;

 I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
 not disciplinary proceedings against me.

 I declare under penalty of perjury that the foregoing is true and correct.


         1/26/2024                                                            Michael J. Songer
 Date:                                           Signature of Applicant: s/

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 Pro Hac Vice Attorney
                                    Michael J. Songer
 Applicant's Name:
                                    White and Case- D.C.
 Law Firm Name:
                                    701 13th St NW
 Street Address 1:
                                    # 600
 Address Line 2:
         Washington                                              DC                    20005
 City:                                                  State:                  Zip:

                                    202 626 3647                              453727                   D.C.
 Phone Number w/ Area Code                                            Bar #                    State
                               michael.songer@whitecase.com
 Primary E-mail Address:
 (Primary email address must be for the Pro Hac attorney and not a subordinate or staff member)
                                  cwesley@whitecase.com
 Secondary E-mail Address:
 (Additional contact email for questions during the application process)


                                         STATEMENT OF LOCAL COUNSEL
 I am authorized and will be prepared to handle this matter, up to and including trial, in the event the
 applicant Michael J. Songer                                                    is unable to be present upon any date
 assigned by the court.

          1/26/2024
 Date:                              Signature of Local Counsel: s/ Daniel M Weiskopf
                                    Daniel M Weiskopf
 Local Counsel's Name:
                                    McNaul Ebel Nawrot & Helgren PLLC
 Law Firm Name:

 Address must be within the geographical boundaries of the Western District of Washington per LCR
 83.1(d)(2).
                                    600 University Street
 Street Address 1:
                                    Suite 2700
 Address Line 2:
         Seattle                                                 WA                    98101
 City:                                                  State:                  Zip:
                                    2064671816                                44941
 Phone Number w/ Area Code                                            Bar #



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                                   Electronic Case Filing Agreement




     By submitting this form, the undersigned understands and agrees to the following:

    1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
       notices.

    2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
       Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
       against unauthorized use.

    3. If you have any reason to suspect that your password has been compromised in any way, you are
       responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

    4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
       receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
       5(b)(2)(C), except with regard to service of a complaint and summons or sealed documents. This
       provision does include electronic notice of the entry of an order or judgment.

    5. You will continue to access case information via the Western District of Washington's website or
       through the Public Access to Court Electronic Records (PACER) system. A PACER login and password is
       required to electronically file. You can register for PACER access at their website:
       www.pacer.uscourts.gov.

    6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
       most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
       changes or additions that may be made to such administrative procedures in the future.

                I have completed, or will complete immediately after submitting this form, the creation of a
        ✔       PACER – Case Search Only account and submitted my request for Pro Hac Vice Attorney
                Admission access as required per the Pro Hac Vice Application Guide.

                   1/26/2024                           Michael J. Songer
     Date Signed                        Signature s/
                                                        (Pro Hac Vice applicant name)




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